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 5   Telephone: (559) 498-7272
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   1:11-CR-352 LJO-SKO
                                                     )
12                          Plaintiff,               )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE AND ORDER
13                                                   )
                                     v.              )
14                                                   )
     MARK BAGDASARIAN and                            )
15   RYAN BAGDASARIAN,                               )
                                                     )
16                          Defendants.              )
                                                     )
17
18          The United States of America, by and through Benjamin B. Wagner, United States Attorney,
19   and Elana S. Landau, Assistant United States Attorney, and the defendants, by and through their
20   attorneys, hereby stipulate and agree that the status conference in this case, previously scheduled for
21   June 4, 2012 at 1:00 p.m., be continued until July 16, 2012, at 1:00 p.m. before the Honorable Sheila
22   K. Oberto.
23          The reason for this request is the parties’ need for further investigation, discovery, and plea
24   negotiations. The parties have agreed that the requested date represents the earliest date that all
25   counsel are available, taking into account their schedules and commitments to other clients, and the
26   need for preparation in the case and further investigation. Counsel for Mark Bagdasarian is currently
27   in trial in state court and anticipates that trial will take approximately one month. Furthermore, the
28   government has not yet made an offer based on a pending superseding indictment.

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 1          The parties agree that time shall be excluded to and through the date of the status conference
 2   in that failure to grant the requested continuance would unreasonably deny the defendants continuity
 3   of counsel, and unreasonably deny both the defendants and the government the reasonable time
 4   necessary for effective preparation, taking into account the parties’ due diligence in prosecuting this
 5   case and that, based on the reasons articulated, that the continuance in the “ends of justice”
 6   outweighs the interest of the public and defendant in a speedy trial under the Speedy Trial Act. 18
 7   U.S.C. §3161(h)(7)(B)(iv).
 8
 9   DATED: May 31, 2012                           BENJAMIN B. WAGNER
                                                   United States Attorney
10
11                                                 /s/ Elana S. Landau
                                                   ELANA S. LANDAU
12                                                 Assistant U.S. Attorney
13
     DATED: June 1, 2012                           /s/ Anthony P. Capozzi
14                                                 ANTHONY P. CAPOZZI
                                                   Attorney for Mark Bagdasarian
15
16   DATED: June 1, 2012                           /s/ Jeremy Kroger
                                                   JEREMY KROGER
17                                                 Attorney for Ryan Bagdasarian
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   1:11-CR-352 LJO-SKO
                                                       )
12                          Plaintiff,                 )   ORDER FOR CONTINUANCE OF STATUS
                                                       )   CONFERENCE
13                                                     )
                                      v.               )
14                                                     )
     MARK BAGDASARIAN and                              )
15   RYAN BAGDASARIAN,                                 )
                                                       )
16                          Defendants.                )
                                                       )
17                                                     )
18                  IT IS SO ORDERED THAT the status conference in this case, currently scheduled for
19   June 4, 2012, be continued until July 16, 2012, at 1:00 p.m., and good cause appearing therefore.
20                  IT IS FURTHER ORDERED THAT due to the need for additional investigation,
21   preparation in the case and plea negotiations, time shall be excluded to and through the date of the
22   status conference in that failure to grant the requested continuance would unreasonably deny the
23   defendants continuity of counsel, and unreasonably deny both the defendant and the government the
24   reasonable time necessary for effective preparation and plea negotiations, taking into account the
25   parties’ due diligence in prosecuting the case.
26   18 U.S.C. § 3161(h)(7)(B)(iv).
27   ///
28   ///


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 1   The Court finds, based on the reasons articulated, that the continuance in the “ends of justice”
 2   outweighs the interest of the public and defendant in a speedy trial under the Speedy Trial Act.
 3
 4   IT IS SO ORDERED.
 5      Dated:     June 1, 2012                                   /s/ Sheila K. Oberto
                                                       UNITED STATES MAGISTRATE JUDGE
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